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lN THE COUNTY COURT OF THE NlNTH
IUDICIAL CIRCUIT, lN AND FOR
ORANGE COUN'I'Y, FLORIDA

 

CASE NO.
, MICHAEL SHVARTSMAN and

IRA.DA SHVARTSMAN,

Plainti&`,
vs.
GEICO GENERAL INSURANCE COMPANY,

Defendant.

/
M_AF_LI

The Plaintiffs, MICHAEL SHVARTSMAN and IRADA SHVAR.TSMAN, sue

the Defendant, GEICO GENERAL INSURANCE COMPANY, and alleges:

l. This is an action for damages in excess of Fii’ceen Thousand Dolla.rs ($15,000.00),
arising in Orange County, Florida. '

2. On or about Dccember 28, 2013, an unknown driver operated a motor vehicle
traveling eastbound Interstate 4, Orlando, Orange County. Florida.

3. At that time and place, the unknown driver, negligently operated the motor vehicle
so that Plaintiffs, MlCHAEL SHVARTSMAN AND IRADA SHVARTSMAN, were rear-ended
and the unknown driver fled the scene.

4. As a direct and proximate result of the negligence of the unknown driver the
Plaintiff`s have suffered damages as more fully set forth below.
COUNT I-UM ACTION AGAINST GEICO GEML l.NSURANCE COMPANY
The Plaintiffs re-alleges and incorporates paragraphs 1-4 above and then timber states:
5. At all times material, the Plaintiff was insured by the Defendant, GEICO
GENERAL INSURANCE COMPANY, a company authorized to do business in Florida, and on

the date of the subject accident, bad in full force and effect a policy of automobile insurance

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providing uninsured motorist coverage A copy of the declaration sheet is attached hereto and iden~
tified as "Exhibit A".

6. The PlaintM know that the hit and run driver will be unable to compensate the
Plaintiii`s for the.losses and damages they have incurred; sue the uninsured motorist carrier, GEICO
GENERAL NSURANCE COMPANY, to compensate the Plaintif’t`s for losses they have sustained

7. The Plaintifts has met all conditions precedent to maintain this uninsured motorist

8. Defendant, GEICO GENERAL [NSURANCE COMPANY, has failed to pay
uninsured motorist wverage benefits as requested by the Plaintifl`s, which the Plaintiffs allege is in
violation of the agreement for UM insurance

9. Accordingly, the Plaintiffs allege that the Defendant, GEICO GENERAL
INSURANCE COMPANY, has breached the contract of uninsured motorist coverage

10. There is no dispute whether the insurance policy provides the uninsured motorist
coverage alleged herein.

11. Alcemativeiy, should the Defmdam, calco GENERAL assumes
COMPANY, dispute whether there exists uninsured motorist coverage between the Plaintif’t`s and
Defendant, the Plaintiffs has been required to retain the services of the undersigned attorneys to
represent and protect the Plaintift’s interests and entitlement to said insurance coverage, and the
Plaintift`s am obligated to pay the attorneys a reasonable fee for their services; therefore, the
Plaintiffs requests that a reasonable attorneys fee be awarded upon recovery pursuant to Florida

Statute 627.428.

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DAMAGES

12. As a direct and proximate result of the above-mentioned accident, the Plaintiff,
MICl-IAEL SHVARTSMAN, has suffered permanent bodily injury and resulting pain and
suffering disability, disfigurement, mental anguish, loss of capacity for the enjoyment of life,
expense of hospitalization, medical and nursing care and treatment, loss of earnings, loss of the `
ability to earn money, and the aggravation of a previously existing condition, if uny. These
losses are either permanent or continuing within a reasonable degree of medical probability, and
Plaintift`, MICHAEL SHVARTSMAN, will continue to suffer these losses in the future

13. As a direct and proximate result of the above~mentioned accident, the Plaintit`t; IRADA
SHVARTSMAN, has suffered permanent bodily injury and resulting pain and suffering
disability, disfigurement mental anguish, loss of capacity for the enjoyment of life, expense of
hospitalization medical and nursing care and treatment, loss of earnings, loss of the ability to
earn money, and the aggravation of a previously existing condition, if any. These losses are
either permanent or continuing within a reasonable degree of medical probability, and Piaintift`,
IR.ADA SHVARTSMAN, will continue to suffer these losses in the fixture

14. The Plaintiffs further requests prejudgment interest at the legal rate on all amounts incurred
for healthcare, hospital, doctor and/or nursing expenses, as well as any other economic damages
and on any other liquidated expenses incurred as a result of the aforesaid injuries

WHERBFORE, the l’laintiffs, MlCHAEL SHVARTSMAN a;nd IRADA SHVARTSMAN,

demands judgment against the Defendant, GEICO GENERAL, lNSURANCE COMPANY, for
compensatory damages in excess of Fifreen Thousond Dollars ($lS,OO0.00) exclusive of costs and
interest together with costs and prejudgment interest for that portion of the compensatory damages
which have been previously liquidated and any other relief to which the Plaintiffs may be entitled
and the Plaintiffs demands a trial by jury of all issues so triable

COUNT III-BAD FAITH CLAIM

The Plaintift`s rc-a]lcge and incorporates paragraphs l-14 above and then further states:

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l$. Given the nature of the collision and the seriousness of the injmies suffered by the
Plaintiffs, a reasonable person, when faced with the potential liability for having to pay himself
for the entire loss suffered by the Plaintift's, would have timely settled the claim within the
available amount of uninsured motorist limits, if such reasonable person had acted with the best
interests of the insured the Plaintiffs in mind, and with due regard to the total value of the
Plaintiffs’ damages, including both past and iiiture damages, in comparison to the relative limited
amount of the applicable UM policy.

16. Under the circumstances, the Plaintift`s’ UM claim is one which could have been
timely settled by the Defendant and should have been settled by the Defendant, if the Defendant
had acted fairly and honestly, and with due regard for the Plainti£fs’ interests

17. Specit'ically, on August 20, 2014, the PlaintiH`s submitted a time limit demand to
GEICO GENERAL ].NSURANCE COMPANY for all covered losses, injuries, and damages
resulting ii'om the subject motor vehicle collision

18. Thereai’cer, the Defendant GEICO GENERAL TNSURANCE COMPANY did not
accept the Plaintii`t”s’ previous settlement offer.

19. As a result, on lanuary 12, 2015, the Plainti&`s filed a Civil Remedy Noticc of
I.nsurer Violations with thc Florida Department of Financial Services in accordance with Florida
statute §624.155.

20. GEICO GENERAL INSURANCE COMPANY responded to the Civil Remedy
Notice of Insurer Violations on March 9, 2015. A copy of the Civil Remedy Notice of Insurer

Viclation attached as " Exhihit B".

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21. Despite being placed on notice of the Civil Rernedy Violation, GEICO GENERAL
INSU'RANCE COMPANY did not remedy the violation by making payment within the 60-day
cure period as provided by Florida Statute §624.155.

22. Because the Defendant chose to not pay the requested UM benefits.in accordance
with either 1) the Plaintiffs’ settlement demand or 2) Within the 60~day cure period afforded by
the Civi] Remcdy Notice; thereatter, the Plaintiii`s’ claim was not settled and instead a lawsuit
was necessarily filed against the Defendant, and all conditions precedent to Plaintiffs’ right to
bring this action have occurred, been waived or excused.

23. Undcr the terms of the insurance policy issued by the Det`endant and because of
the special relationship between the Defendant and its insured/the Plaintiffs, the Defendant
insurer owed, by operation of law, a fiduciary duty of good faith and fair dealing to the Plaintiti`s
to handle every aspect of the adjustment and handling of the claims brought by the Plaintiffs

fairly and honestly, and with due regard for Plaintif£s’ injuries

24. The duty of good faith and fair dealing owed to the Plaintiffs includes, but is not

limited to, the following:

a. Required the Defendant insurer to investigate and use proper diligence to
determine the facts of the claims of the Plaintitt`s;

b. Required the Defendant insurer to conduct all settlement negotiations in good
faith and in full consideration ofPlaintit`t`s’ interests even when those interests might be divergent
from the financial interests of the Defendant insurance company;

c. Required the Defendant insurer to promptly and timely settle the claims of the
Plaintiffs for an amount up to the policy limits when it could have and should have done so, had
it acted fairly and honestly, and with due regard for Plaintiffs‘ interests;

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d. Required the Defendant insurer to handle Plaintiffs‘ claim fairly and honestly, and
in a non-adversarial manner in light of the tiduciary relationship of the Defendant insurer with
the Plaintifts insured, and with due regard for Plaintiffs’ interests;

e. Required the Defendant to adopt and/or follow proper claims handling procedures

to be implemented in the handling of Plaintiffs’ claim, including the prompt and timely payment
' of UM benefits without necessarily requiring its insureds to have to engage in lengthy and costly
litigation simply to receive payment of UM benefits that a reasonable person, under like
circumstances, would have instead promptly paid within policy limits, when faced with the
potential liability for having to pay himself for the entire loss suffered by the Plaintit`t`s;

f. Required the Det`endant insurer, in light of the iiduciary relationship of the
Defendant insurer with the Plaintiffs insured, to handle Plaintiffs’ litigation of the UM benefits in
such a way that it did not place unnecessary, costly and burdensome time delays and legal
barriers in the way of the Plaintift`s insured’s timely and prompt payment of UM benefits An
example of an unreasonable barrier to payment of benefits would be the carrier’s potentially
requiring thc relitigation of issues in a second, separate action when a full measure of damages
and all legal issues have the means of being litigated and resolved in but one legal action.
Another example would be to cause the insured to incur unnecessary, costly and burdensome
time delays and legal barriers in the way of the Plaintifi`s insured’s timely and prompt payment of
UM benefits claim by engaging in appeals of the Plaintit`fs’ legal claim following the Plaintiffs’
receipt of a jury verdict for darnages, in as much as the carrier has the means to fully pay such
damages once determined by a jury without the need for an unnecessary, costly and lengthy
appeal. lust because as carrier may have a right to place legal barriers to payment ol` UM benefits
before an insured, does not mean that the carrier should erect such barriers, if the carrier is acting
fairly and honestly, and in a non~adversarial manner and with due regard for Plaintii’fs’ interests,
as a reasonable fiduciary should aet;

25. rha hereaer breaches is duty organ aim and ran dealing owed to Plainaa‘s '

by doing, but is not limited to, the following:

a. F ailing to investigate and use proper diligence to determine the necessary facts in
order to settle the claims of the Plaintit‘fs; including but not limited to refusing to speak to the
Plaintiffs’ when they appeared at Milestone Reporting for an Examination Under Oath.

bi Failing to conduct all settlement negotiations in good faith and in full
consideration of Plaintitl`s’ interests even when those interests were divergent from the financial
interests of the Defendant insurance company;

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c. Failing to promptly and timely settle the Plaintiffs’ claims within the available
policy limits when it could have and should have done so, had it acted fairly and honestly, and
with due regard for Plaintiffs’ interests;

d. Failing to handle Plaintiffs’ claim fairly and honestly, and in a non-adversarial
manner in light of the fiduciary relationship of the Defendant insurer with the Plaimifl`s insured,
and with due regard for Plaintiffs’ interests; '

e. Failing to adopt and/or follow proper claims handling procedures to be
implemented in the handling of Plaintiffs’ claim, including the prompt and timely payment of
UM benefits without necessarily requiring its insureds to have to engage in lengthy and costly
litigation simply to receive payment ol` UM benefits that a reasonable person, under like
ci.rctnnstances, would have instead promptly paid within policy limits, when faced with the
potential liability for having to pay himself for the entire loss suffered by the Plaintiffs;

f. Faj]ing to handle, in light of the fiduciary relationship of the Defendant insurer
with the Plainti£fs insured, the Plaintiffs’ litigation of the UM beneiits in such a way that it did
not place unnecessary, costly and burdensome time delays and legal barriers in the way of the
Plaintiffs insured’s timely and prompt payment of UM benefits;

g Failing to avoid placing unreasonable barriers to payment of benefits by requiring
the relitigation of issues in a second, separate action when a full measure of damages and all
legal issues have the means of being litigated and resolved in but one legal action;

h. Failing to avoid placing unreasonable barriers to payment of benefits by requiring
and by engaging in appeals of the Plaintiffs’ legal claim following the Plaintiifs’ receipt of a jury
verdict for damages, in as much as the carrier has the means to fully pay such damages once
determined by a jury without the nccd for an unnecessary, costly and lengthy appeal;

i. Failing to affirmatively initiate settlement negotiations, even after it knew or
should have known that Plaintift`s’ injuries and damages exposed liability for damages in excess
of the policy limits;

26. As a result of one or more of these breaches by the Defendant insurer, the
Plaintiffs insured has been damaged, which damages include: the full measure of the damages
caused by the collision, the applicable attorney’s fees and legal costs pursuant to Florida Statute

§627.428 and §624. 155 that the Defendant insurer caused the Plaintiffs insured incur as a product

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of its Bad Faith conduct, including litigating both the underlying claim for UM benefits, plus

litigating the declaratory relief action and the bad faith action brought by the insured as a result of
the Defendant carrier’s failure to promptly and timely tender UM benefits, and further any

interest that the Plainti£i` may be entitled to receive pursuant to Florida law, plus any extra- .
contractual damages that the Plaintii`fs may incur as a product of the Defendant insurer’s bad

faith conduct.

WHERBFORE, the Plaintiffs, M[CI-lA.EL SHVARTSMAN and lRADA SHVARTSMAN,
hereby demands judgment against Defendant, GEICO GENERAL INSURANCE COMPANY, in
the hill amount of their damages, plus interest, plus costs and attorneys‘ fees, and any other relief to
which the Plaintifl`s may be entitled, and the Plaintiffs demands a trial by jury of all issues so
triable.

IHEREBY CERTlFY that a copy of the foregoing was electronically e~filcd through the
Florida Courts E-Filing Portal and pursuant to Rule 2.516,F10rida Rules of Judicial
Administrat.ion, e~service will be completed through the E-Portal, this c]LiV\ day of February

2017.
UW)Wi n/?V'

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